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1    Dustin D. Johnson (SBN: 234008)
     The Law Offices of Dustin D. Johnson
2    2701 Del Paso Road, Suite 130-155
     Sacramento, CA 95835
3    Phone: (877) 377-8070
     Fax: (916) 244-9889
4
     Counsel for AMY HER
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7
                                UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
      THE UNITED STATES OF AMERICA,                  Case No.: 2:15-CR-115 TLN
11
                 Plaintiff,                          STIPULATION AND ORDER
12                                                   TO CONTINUE SENTENCING
           vs.
13                                                   Judge: Hon. Troy L. Nunley
      AMY HER,                                       Time: 9:30 a.m.
14                                                   Date: November 30, 2017

15               Defendant.

16

17          IT IS HEREBY STIPULATED by and between the parties hereto through their

18   respective counsel, Matthew Yelovich, Assistant United States Attorney, and Dustin D. Johnson,

19   Counsel for AMY HER, that:

20      1. By previous order, this matter was set for sentencing on August 3, 2017.

21      2. By this stipulation, the parties now move to continue sentencing until November 30,

22          2017.

23      3. The parties agree and stipulate that this continuance will provide both parties additional

24   time to prepare for sentencing by, inter alia, researching issues pertinent to making a

25   recommendation to the Court for a proposed sentence.

26   IT IS SO STIPULATED.

27          The prosecutor has authorized defense counsel to sign this stipulation on his behalf.

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1
            The probation officer has no objection to continuing the judgment and sentencing hearing
2
     to November 30, 2017 and has provided the following briefing schedule based on the new
3
     Judgment and Sentencing Date of November 30, 2017, at 9:30 a.m.
4
            •   Reply, or Statement of Non-Opposition: November 23, 2017
5
            •   Motion for Correction of the Presentence Report shall be filed with the Court and
6
                served on the Probation Officer and opposing counsel no later than: November 16,
7
                2017
8
            •   The Presentence Report shall be filed with the Court and disclosed to counsel no later
9
                than: November 9, 2017
10
            •   Counsel's written objections to the Presentence Report shall be delivered to the
11
                Probation Officer and opposing counsel no later than: November 2, 2017
12
     Dated: July 6, 2017                  Respectfully submitted,
13

14
                                                  /s/ Dustin D. Johnson
15                                                Dustin D. Johnson
                                                  Counsel for Amy Her
16

17   Dated: July 6, 2017                          PHILLIP TALBERT
                                                  United States Attorney
18

19                                                /s/ Matthew M. Yelovich (approved via email)
                                                  MATTHEW M. YELOVICH
20                                                Assistant U.S. Attorney
21                                               ORDER
22          IT IS SO ORDERED this 7th day of July, 2017.
23

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25

26                                                       Troy L. Nunley
                                                         United States District Judge
27
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